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 8                                     UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    CSPC DOPHEN CORPORATION,                          No. 2:17-cv-1895 MCE DB PS
12                        Plaintiff,
13              v.                                      ORDER
14    ZHIXIANG HU,
15                        Defendant.
16

17            Defendant is proceeding in this action pro se. (ECF No. 68.) Accordingly, this action has

18   been referred to the undersigned pursuant to Local Rule 302(c)(21).

19            On September 16, 2018, defendant filed a motion for leave to file a sur-reply along with a

20   sur-reply. (ECF No. 103.) The motion is noticed for hearing before the undersigned on October

21   12, 2018. (ECF No. 105.) Pursuant to Local Rule 230, any opposition to the motion was to be

22   filed on or before September 28, 2018. However, no opposition to defendant’s motion has been

23   filed.

24            Accordingly, upon consideration of the arguments on file and for the reasons set forth

25   above, IT IS HEREBY ORDERED that:

26            1. Defendant’s September 16, 2018 motion for leave to file a sur-reply (ECF No. 103) is

27   granted;

28   ////
                                                        1
     Case 2:17-cv-01895-MCE-DB Document 106 Filed 10/04/18 Page 2 of 2

 1           2. The sur-reply filed on September 16, 2018 (ECF No. 103-1) shall be considered; and

 2           3. The October 12, 2018 hearing of defendant’s motion is vacated.

 3   Dated: October 3, 2018
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